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 6                      IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
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 9   Michael Apelt,                                   No. CV-98-00882-PHX-ROS
10                        Petitioner,                 EX PARTE ORDER
11   v.                                               DEATH PENALTY CASE
12   Charles L. Ryan, et al.,
13                        Respondent.
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16          IT IS ORDERED granting Petitioner’s motion for substitution of counsel. (Doc.
17   387.) Pursuant to 18 U.S.C. § 3599(A)(2), Emily Skinner is appointed as lead counsel
18   and Amy Armstrong as co-counsel. Based on their skill and experience, the Court finds
19   justification for reimbursement at the maximum permissible hourly rates for lead counsel
20   and co-counsel under General Order 18-04, which is presently $188 and $168 per hour
21   respectively. Any future increases to the maximum rates for lead and co-counsel adopted
22   by the District of Arizona will be applied automatically.
23          Dated this 27th day of August, 2018.
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26                                                      Honorable Roslyn O. Silver
                                                        Senior United States District Judge
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